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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               ABILENE DIVISION

MICHAEL FISHER,

       P1aintiff,

                                                          No. 1:21-CV-142-H

JOEL zuCHARDSON, et al.,

       Defendants.

                                           ORDER
       Before the Court is Michael Fisher's Notice of Dismissal putsuant to Rule

a1(a)(1XA)(i). Dkt. No. 3. Because no defendant has filed an answer or morion      f,or

summary judgment, the Court instn.rcts the Clerk of Court to dismiss this action without

prejudice under Fed. R. Civ. P.   1(a)(1)(A)(i), permitting dismissal of an action without a

court order.

       So ordered on August          . 202t.




                                                  S   WESLEY HENDRIX
                                                       STATES DISTRICT JUDGE
